                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


UNITED STATES of AMERICA,                     )       DOCKET NO. 3:07CR119 - W
                                              )
               v.                             )
                                              )
(4) ALFREDO SUSI,                             )
              Defendant                       )

                             ORDER TO REPATRIATE ASSETS

       Upon consideration of the Government’s Application for an Order directing the defendant

to repatriate assets, and for good cause shown, it is this 20th day of September, 2007, ORDERED

pursuant to 21 U.S.C. §853(p) as follows:

       1.      The government has shown good cause for an Order directing the defendant to

repatriate assets and property identified as the following:

•      The funds and property held by Maerki Baumann & Co. AG, Zurich, Switzerland; including
       but not limited to the funds in account number 556165 with a User Identification: E110960;
       Card Number: 51297440; Account Name: "ALFREDO SUSI;" owned by ALFREDO SUSI;
       Beneficiary: Landslide Corp.

•      The funds and property held by Belize Bank Ltd. in Belize City, Belize including but not
       limited to a Certificate of Incumbency in the amount of $50,000 in the name of Landslide
       Corp., a Belize corporation owned by ALFREDO SUSI

The forgoing assets and property are substitute assets, subject to forfeiture to the United States

pursuant to 28 U.S.C. § 2461(c), 18 U.S.C. § 981(a)(1)(C), and 21 U.S.C. § 853(p), by virtue of the

return of the Indictment in the above-captioned case.

       2.      The Defendant ALFREDO SUSI is HEREBY ORDERED to forthwith take all steps

necessary to repatriate the funds and property held by Maerki Baumann & Co. AG and Belize Bank



                                                  1


    Case 3:07-cr-00119-FDW-DCK              Document 53       Filed 09/21/07   Page 1 of 2
Ltd. to the jurisdiction of the court and to forthwith surrender the funds and property to the United

States Marshals Service pending further order of this Court.

       3.      Maerki Baumann & Co. AG in Zurich, Switzerland and Belize Bank Ltd. in Belize

City, Belize shall not sell, encumber, transfer custody or control of, or take any other action beyond

customary, that would reduce the value of the assets in the applicable accounts while they remain

in their custody, pending further order of this Court.

       4.      The Clerk of Court shall provide copies of this Order to counsel of record and to the

United States Marshals Service .

       IT IS SO ORDERED.

                                                  Signed: September 20, 2007




                                                  2


    Case 3:07-cr-00119-FDW-DCK              Document 53        Filed 09/21/07      Page 2 of 2
